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                            UNITED STATE DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig                  : MDL NO. 2179
       “Deepwater Horizon” in the Gulf          :
       of Mexico, on April 20, 2010              : SECTION: J
                                                 :
This Document Relates to:                        : JUDGE BARBIER
      Civil Action 10-4536                      : MAG. JUDGE SHUSHAN
.. .. .. .. .. .. .. .. .. .. .. ..            .. .. .. .. .. .. .. .. .. .. .. .. .. ..

                 FINAL JUDGMENT ON SECOND CLAIM FOR RELIEF
                         AS TO ANADARKO DEFENDANTS
       After granting the Motion of Plaintiff United States for Partial Summary Judgment as to

the Liability of Anadarko Petroleum Corporation and Anadarko E&P Company LP (collectively,

“the Anadarko Defendants”), IT IS ORDERED that JUDGMENT is entered as follows:

1) The Anadarko Defendants are jointly and severally liable under the Second Claim for Relief

   as Responsible Parties under Section 1002 of the Oil Pollution Act (“OPA”), 33 U.S.C. §

   2702, for all removal costs and damages, as defined under OPA, that result from the Oil Spill

   by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010. Such liability

   is not subject to any limitation on liability set forth in Section 1004 of OPA, 33 U.S.C. §
   2704.

2) This judgment is a declaratory judgment under 33 U.S.C. § 2716(f) and 28 U.S.C. § 2201,

   enforceable in this or any subsequent administrative or judicial proceeding to recover any
   specific amounts of removal costs and damages.

3) There being no just reason for delay, this is a final judgment under Fed. R. Civ. P. 54(b).

       So Ordered and Adjudged, this _____ day of ____________, 201_, in New Orleans,
Louisiana.

                                                     ______________________
                                                     CARL J. BARBIER
                                                     UNITED STATES DISTRICT JUDGE
